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                       IN THE UNITED STATES DISTRICT COURT
                       DISTRICT OF UTAH, NORTHERN DIVISION


                                                      ORDER FOR WITHDRAWAL
  UNITED STATES OF AMERICA
                                                           OF COUNSEL
                Plaintiff,

  v.
                                                       Case No. 1:20-CR-00010-RJS
  STEVEN DELEON,
                                                    Magistrate Judge Daphne Oberg
                                                  District Court Judge Robert J. Shelby
                Defendant.


        Based on the motion of the defendant and good cause shown:

        It is hereby ORDERED that Daryl P. Sam, attorney, is hereby Granted leave to withdraw

 as counsel for Defendant.

        DATED this ____________ day of December, 2020.


                                                  BY THE COURT:




                                                  _________________
                                                  JUDGE DAPHNE OBERG
                                                  United States Magistrate Court Judge




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